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States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: December 17, 2018



________________________________________________________________

                        UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

 In Re                                        )
                                              )
 CHARLENE MARIE DAVIS                         )   Case No. 18-13319
                                              )   Chapter 7
                                              )   Judge Buchanan
                       Debtor(s)              )

                 ORDER APPROVING REAFFIRMATION AGREEMENT

       This matter is before this Court on the reaffirmation agreement between Charlene Davis
(the “Debtor”) and American Honda Finance Corp. [Docket Number 23] (the “Reaffirmation
Agreement”). A hearing was held on December 14, 2018 (the “Reaffirmation Hearing”).

        At the Reaffirmation Hearing, this Court informed the Debtor that entering into the
Reaffirmation Agreement is not required under the Bankruptcy Code, nonbankruptcy law, or under
any agreement not made in accordance with 11 U.S.C. § 524(c). This Court further explained the
legal effect and consequences of entering into and defaulting on the Reaffirmation Agreement.
See 11 U.S.C. § 524(d).

        Based on the testimony provided by the Debtor at the Reaffirmation Hearing, approval of
the Reaffirmation Agreement will not impose an undue hardship on the Debtor or her dependents,
and is in her best interests. See 11 U.S.C. § 524(c)(5)-(6), § 524(m).

         Accordingly, the Reaffirmation Agreement is hereby APPROVED.

         SO ORDERED.
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